                          Case 4:24-cv-03229-HSG Document 22 Filed 06/27/24 Page 1 of 7



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                   11   VNGR BEVERAGE, LLC d/b/a POPPI

                   12
                                                        UNITED STATES DISTRICT COURT
                   13
                                                  NORTHERN DISTRICT OF CALIFORNIA
                   14

                   15
                        KRISTIN COBBS, individually and on behalf       Case No. 4:24-cv-03229-HSG (lead)
                   16   of all other persons similarly situated,
                                                                        No. 4:24-cv-03612-HSG
                   17                     Plaintiff,
                                                                        JOINT REQUEST TO CONSOLIDATE CASES, SET
                   18          v.                                       PLAINTIFFS’ TIME TO FILE A CONSOLIDATED
                                                                        AMENDED COMPLAINT, SET DEFENDANT’S
                   19   VNGR BEVERAGE, LLC d/b/a POPPI,                 TIME TO RESPOND TO THE CONSOLIDATED
                                                                        AMENDED COMPLAINT AND ASSOCIATED
                   20                     Defendant.                    BRIEFING SCHEDULE, AND RESET THE INITIAL
                                                                        CASE MANAGEMENT CONFERENCE; ORDER (as
                   21                                                   modified)
                                                                        Dept:       Courtroom 2
                   22                                                   Judge:      Judge Haywood S. Gilliam, Jr.
                        CAROL LESH and SARAH COLEMAN, on
                   23   behalf of themselves, the general public, and
                        those similarly situated,
                   24
                                          Plaintiffs,
                   25
                               v.
                   26
                        VNGR BEVERAGE, LLC,
                   27
                                          Defendant.
                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                    JOINT REQUEST AND ORDER
   SAN DIEGO                                                                        CASE NO. 4:24-CV-03229-HSG
                                                                                    CASE NO. 4:24-CV-03612-HSG
                          Case 4:24-cv-03229-HSG Document 22 Filed 06/27/24 Page 2 of 7



                    1          Pursuant to Civil Local Rules 16-2 and 7-12, Plaintiffs Kristin Cobbs, Carol Lesh, and Sarah

                    2   Coleman (“Plaintiffs”) and Defendant VNGR Beverage, LLC d/b/a Poppi (“Defendant” or “Poppi,”

                    3   together with “Plaintiffs,” the “Parties”) hereby jointly stipulate and agree as follows:

                    4              1. WHEREAS, on May 29, 2024, a putative class action was filed in this Court against

                    5   Poppi alleging violations of consumer protection laws, captioned Cobbs v. VNGR Beverage, LLC,

                    6   Case No. 4:24-cv-03229-HSG (the “Cobbs Action”);

                    7              2. WHEREAS, on June 4, 2024, the Cobbs Action was reassigned to the Honorable

                    8   Haywood S. Gilliam, Jr. (ECF No. 8);

                    9              3. WHEREAS, on May 29, 2024, a substantially similar putative class action,

                   10   involving the same questions of law and fact, was filed in the Northern District of California,

                   11   captioned Lesh, et al. v. VNGR Beverage, LLC, Case No. 4:24-cv-03612-HSG (the “Lesh Action”);

                   12              4. WHEREAS, on June 17, 2024, plaintiffs in the Lesh Action filed an administrative

                   13   motion to relate the Lesh Action to the Cobbs Action pursuant to Civil Local Rules 3-12(a) and 7-

                   14   11 (ECF No. 16) because these actions involve identical questions of law and fact and the same

                   15   conduct by the same Defendant;

                   16              5. WHEREAS, on June 25, 2024, the Court entered a Related Case Order relating the

                   17   Lesh Action to the Cobbs Action.

                   18              6. WHEREAS, cases pending before the same judge may be consolidated under

                   19   Federal Rule of Civil Procedure 42(a) if the actions involve a common question of law or fact;

                   20              7. WHEREAS, to advance the interests of judicial economy and efficiency, prevent

                   21   duplication, and preserve the Court’s and Parties’ Resources, the Parties, therefore, respectfully

                   22   submit that consolidation of the Lesh and Cobbs Actions is appropriate;

                   23              8. WHEREAS, the Parties agree that if the cases are consolidated, Plaintiffs will

                   24   accordingly file a consolidated amended complaint;

                   25              9. WHEREAS, the Parties agree that Defendant need not answer, move, or otherwise

                   26   respond to the currently filed complaints in the Cobbs Action and Lesh Action, and should instead

                   27   respond to the consolidated amended complaint; and

                   28              10. WHEREAS, an initial case management conference is presently set in the Cobbs
COOLEY LLP
ATTORNEYS AT LAW                                                                        JOINT REQUEST AND ORDER
   SAN DIEGO                                                              1             CASE NO. 4:24-CV-03229-HSG
                                                                                        CASE NO. 4:24-CV-03612-HSG
                            Case 4:24-cv-03229-HSG Document 22 Filed 06/27/24 Page 3 of 7



                    1    action for September 3, 2024 at 2:00 p.m.

                    2            NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by the Parties

                    3   hereto, through their undersigned counsel, as follows:

                    4                1. Pursuant to Civil L.R. 3-12(f)(3), the case captioned Lesh, et al. v. VNGR Beverage,

                    5   LLC, Case No. 4:24-cv-03612-HSG is hereby consolidated with the case captioned Cobbs v. VNGR

                    6   Beverage, LLC, Case No. 4:24-cv-03229-HSG.

                    7                2. Pursuant to Federal Rule of Civil Procedure Rule 42(a), the above-captioned actions

                    8   shall be consolidated for all purposes, including, without limitation, discovery, pretrial proceedings,

                    9   and trial (the “Consolidated Action”).

                   10                3. Every pleading filed in the Consolidated Action shall be filed under Case No. 4:24-

                   11   cv-03229-HSG and shall bear the following caption:

                   12                                  UNITED STATES DISTRICT COURT
                   13
                                                    NORTHERN DISTRICT OF CALIFORNIA
                   14

                   15
                          In re VNGR BEVERAGE, LLC
                   16     LITIGATION                                             Case No. 4:24-cv-03229-HSG

                   17                                                            CLASS ACTION

                   18     This Document Relates To:                              Judge: Hon. Haywood S. Gilliam, Jr.
                          Case No. 4:24-cv-03612-HSG                             Courtroom: 2
                   19

                   20                4. Plaintiffs shall file a consolidated amended complaint within 28 days of the Court’s

                   21   acceptance of this Joint Stipulation.

                   22                5. Defendant need not answer, move, or otherwise respond to the currently pending

                   23   complaints in the Cobbs or Lesh Actions.

                   24                6. Defendant shall respond to the to be filed consolidated amended complaint within

                   25   45 days of its filing.

                   26                7. If Defendant ultimately files a motion to dismiss the consolidated amended

                   27   complaint, Plaintiffs will have 28 days to file an opposition to the motion to dismiss and Defendant

                   28   will have 21 days to file a reply to the opposition.
COOLEY LLP
ATTORNEYS AT LAW                                                                         JOINT REQUEST AND ORDER
   SAN DIEGO                                                               2             CASE NO. 4:24-CV-03229-HSG
                                                                                         CASE NO. 4:24-CV-03612-HSG
                           Case 4:24-cv-03229-HSG Document 22 Filed 06/27/24 Page 4 of 7



                    1               8. The Court may reset the initial case management conference, currently scheduled

                    2   for September 3, 2024 at 2:00 p.m., to a later date.

                    3               9. The Parties are not waiving any rights, claims, or defenses of any kind except as

                    4   expressly stated herein, and the Parties reserve the right to seek further extensions of time as

                    5   circumstances may warrant, subject to the Court’s approval.

                    6
                        Dated: June 27, 2024                           COOLEY LLP
                    7

                    8                                                  /s/ Michelle C. Doolin
                                                                       Michelle C. Doolin
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COOLEY LLP
ATTORNEYS AT LAW                                                                      JOINT REQUEST AND ORDER
   SAN DIEGO                                                               3          CASE NO. 4:24-CV-03229-HSG
                                                                                      CASE NO. 4:24-CV-03612-HSG
                          Case 4:24-cv-03229-HSG Document 22 Filed 06/27/24 Page 5 of 7



                    1   Dated: June 27, 2024              BURSOR & FISHER, P.A.

                    2
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                                                          KRISTIN COBBS
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                        Dated: June 27, 2024              GUTRIDE SAFIER LLP
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                   16                                     /s/ Seth A. Safier
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                                                          LESH AND COLEMAN
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COOLEY LLP
ATTORNEYS AT LAW                                                           JOINT REQUEST AND ORDER
   SAN DIEGO                                                 4             CASE NO. 4:24-CV-03229-HSG
                                                                           CASE NO. 4:24-CV-03612-HSG
                          Case 4:24-cv-03229-HSG Document 22 Filed 06/27/24 Page 6 of 7



                    1                          ATTESTION OF CONCURRENCE IN FILING

                    2          Pursuant to the United States District Court for the Northern District of California, Civil

                    3   L.R. 5-1(i), I, Michelle C. Doolin, hereby attest that the concurrence to the filing of the foregoing

                    4   document has been obtained from the signatories.

                    5   Dated: June 27, 2024                          COOLEY LLP
                    6
                                                                      /s/ Michelle C. Doolin
                    7                                                 Michelle C. Doolin
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                   16                                                 VNGR BEVERAGE, LLC d/b/a POPPI
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COOLEY LLP
ATTORNEYS AT LAW                                                                        JOINT REQUEST AND ORDER
   SAN DIEGO                                                             5              CASE NO. 4:24-CV-03229-HSG
                                                                                        CASE NO. 4:24-CV-03612-HSG
                          Case 4:24-cv-03229-HSG Document 22 Filed 06/27/24 Page 7 of 7



                    1                                                ORDER

                    2          PURSUANT TO STIPULATION, IT IS SO ORDERED. Pursuant to Civil L.R. 3-12(f)(3),

                    3   the case captioned Lesh, et al. v. VNGR Beverage, LLC, Case No. 4:24-cv-03612-HSG is hereby

                    4   consolidated into the present action, Case No. 4:24-cv-03229-HSG, which shall serve as the lead

                    5   case. All future filing should be done in the lead case only and should be captioned “In re VNGR

                    6   BEVERAGE, LLC LITIGATION.” The clerk is directed to administratively close the later-filed

                    7   civil action, Case No. 24-cv-03612-HSG. Plaintiffs are ordered to file a consolidated amended

                    8   complaint within 28 days of this order, and Defendant need not answer, move, or otherwise

                    9   respond to the currently pending complaints in the Cobbs and Lesh actions. Defendant shall

                   10   respond to the consolidated amended complaint within 45 days of its filing. In the event

                   11   Defendant files a motion to dismiss, Plaintiffs shall have 28 days to file an Opposition and

                   12   Defendant shall have 21 days to file a Reply. The initial case management conference scheduled

                   13   for September 3, 2024 is hereby vacated and will be reset.

                   14   Dated: 6/27/2024                                    By:
                                                                                  Judge Haywood S. Gilliam, Jr.
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COOLEY LLP
ATTORNEYS AT LAW                                                                         JOINT REQUEST AND ORDER
   SAN DIEGO                                                            6                CASE NO. 4:24-CV-03229-HSG
                                                                                         CASE NO. 4:24-CV-03612-HSG
